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                                                                                      FILED
                                                                           UNITED STATES DISTRICT COURT
                                                                                DENVER, COLORADO
                                                                                    3:51 pm, Jul 17, 2018
                                                                            JEFFREY P. COLWELL, CLERK

                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Criminal Case No. 18-cr-00330-GPG

  UNITED STATES OF AMERICA,

          Plaintiff,

  v.

  PEDRO CHAVEZ-VARELA,
  A.K.A. Hector Pimela-Torres, Oscar Varela-Lopez,

          Defendant.


                                          INDICTMENT
                                    8 U.S.C. ' 1326(a), (b)(1)
                               Illegal Re-entry After Deportation


          The Grand Jury charges:

                                             COUNT 1


          On or about June 7, 2018, in the State and District of Colorado, the defendant,

       PEDRO CHAVEZ-VARELA, an alien, was found in the United States after having

       been denied admission, excluded, deported, and removed from the United States on

       or about February 17, 2018, and without the express consent of the proper legal

       authority to reapply for admission to the United States. All in violation of Title 8,

       United States Code, Section 1326(a).
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                           NOTICE OF ENHANCED PENALTY

        The defendant is subject to the enhanced penalty under Title 8, United States

  Code, Section 1326(b)(1) because his denial of admission, exclusion, deportation and

  removal was subsequent to a conviction for a felony offense.



                                          A TRUE BILL

                                          s/ Ink signature on file in Clerk's Office
                                          FOREPERSON


  ROBERT C. TROYER
  United States Attorney

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